Case: 2:21-cv-02562-MHW-EPD Doc #: 22 Filed: 11/24/21 Page: 1 of 3 PAGEID #: 352




                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                   100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt                POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
       Clerk                          CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov

                                                    Filed: November 24, 2021



Mr. Michael Hiram Carpenter
Carpenter, Lipps & Leland
280 N. High Street
Suite 1300
Columbus, OH 43215

Mr. J. C. Ratliff
Law Office
200 W. Center Street
Marion, OH 43302

                     Re: Case No. 21-4128, Michael Canales, et al v. OSU
                         Originating Case No. 2:21-cv-02562

Dear Counsel:

   This appeal has been docketed as case number 21-4128 with the caption that is enclosed on a
separate page. The appellate case number and caption must appear on all filings submitted to the
Court. If the filing fee was not paid when the notice of appeal was filed, it must be paid to the
district court immediately.

   Before preparing any documents to be filed, counsel are strongly encouraged to read the Sixth
Circuit Rules at www.ca6.uscourts.gov. If you have not established a PACER account and
registered with this court as an ECF filer, you should do so immediately. Your password for
district court filings will not work in the appellate ECF system.

    At this stage of the appeal, the following forms should be downloaded from the web site and
filed with the Clerk's office by December 8, 2021. Additionally, the transcript order must be
completed by that date. For further information and instructions on ordering transcript
electronically, please visit the court's website.

                                    Appearance of Counsel
                     Appellant:     Civil Appeal Statement of Parties & Issues
                                    Disclosure of Corporate Affiliations
                                    Application for Admission to 6th Circuit Bar (if applicable)
Case: 2:21-cv-02562-MHW-EPD Doc #: 22 Filed: 11/24/21 Page: 2 of 3 PAGEID #: 353




                                 Appearance of Counsel
                   Appellee:     Disclosure of Corporate Affiliations
                                 Application for Admission to 6th Circuit Bar (if applicable)

    More specific instructions are printed on each form. If appellant's initial forms are not timely
filed or necessary fees paid, the appeal will be dismissed for want of prosecution. If you have
questions after reviewing the forms and the rules, please contact the Clerk's office for assistance.

                                                  Sincerely yours,

                                                  s/Patricia J. Elder
                                                  Senior Case Manager
                                                  Direct Dial No. 513-564-7034


Enclosure
Case: 2:21-cv-02562-MHW-EPD Doc #: 22 Filed: 11/24/21 Page: 3 of 3 PAGEID #: 354




             OFFICIAL COURT OF APPEALS CAPTION FOR 21-4128




MICHAEL CANALES; JOHN DOE 20

          Plaintiffs - Appellants

v.

OHIO STATE UNIVERSITY

          Defendant - Appellee
